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                                                                                            DOC NO
                           IN THE UNITED STATES DISTRICT COURT                            REC'D/FILED
                          FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                                       ZD2D OCT 21 PH 5: I 8
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UNITED STATES OF AMERICA                                      INDICTMENT               CLEf\K US DIST COURT
                                                                                        -       WO OF \!!j
               V.                                  Case No.    2Q CR 1 j j                       W~iC
                                                              18 U.S.C. § 1168(b)
LEVA OUSTIGOFF, Jr., a.k.a. DINO,

                                Defendant.



THE GRAND JURY CHARGES:

                                               COUNTl

       On or about December 18, 2015, in the Western District of Wisconsin, the defendant,

                                LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $9,500 of money of such establishment.

                    (In violation of Title 18, United States Code, Section 1168(b)).

                                              COUNT2

       On or about April 4, 2016, in the Western District of Wisconsin, the defendant,

                                LEVA OUSTlGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $7,500 of money of such establishment.

                    (In violation of Title 18, United States Code, Section 1168(b)).
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                                            COUNT3

       On or about April 29, 2016, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $1,799 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT4

       On or about September 13, 2017, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,599 of money of such establishment.

                 (In violation of Title 18, United States Code, Section 1168(b)).

                                           COUNTS

       On or about October 19, 2017, in the Western Disfrict of Wisconsin, the defendant,

                             LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,599 of money of such establishment.

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                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT6

       On or about October 25, 2017, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $20,000 of money of such establishment.

                  (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNT?

       On or about November 27, 2017, in the Western District of Wisconsin, the defendant,

                              LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,

pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,000 of money of such establishment.

                 (In violation of Title 18, United States Code, Section 1168(b)).

                                            COUNTS

       On or about January 18, 2018, in the Western District of Wisconsin, the defendant,

                             LEVA OUSTIGOFF, Jr., a.k.a. DINO,

being an employee of the St. Croix Casino Turtle Lake, a gaming establishment operated by or

for or licensed by an Indian Tribe, that of the St. Croix Chippewa Indians of Wisconsin,




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pursuant to an ordinance or resolution approved by the National Indian Gaming Commission,

embezzled and willfully misapplied approximately $8,637 of money of such establishment.

                (In violation of Title 18, United States Code, Section 1168(b)).


                                                 ATR


                                                 PRESIDING JUROR

                                                 Indictment returned:   # Zo.
United States Attorney




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